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                 UNITED STATES BANKRUPTCY COURT
                    FOR THE DISTRICT OF COLORADO
IN RE:                          )
                                )
DIVERSIFIED RESOURCES INC.      )    Case No. 19-13627-EEB
                                )
                                )
                                )
BIYA OPERATORS INC.             )    Case No. 19-13628-EEB
                                )
                                )
                                )
NATURAL RESOURCE GROUP INC.     )    Case No. 19-13629-EEB
                                )
Debtors.                        )    Chapter 11
                                )
                                )    Jointly Administered Under
                                )    Case No. 19- 13627-EEB

  NOTICE OF ORDER ESTABLISHING PROCEDURES AND BAR DATE FOR THE
   FILING OF PROOFS OF CLAIM PURSUANT TO FED.R.BANKR.P. 3003(c)(3)


TO INDIVIDUALS AND ENTITIES WHO MAY BE CREDITORS OF DEBTORS OR
EQUITY SECURITY HOLDERS:

       Please take notice that the Bankruptcy Court has entered an order establishing procedures
and a bar date for filing proofs of claim pursuant to Bankruptcy Rule 3003(c)(3) as follows:

(a)    All proofs of claim must be filed with the Clerk of the bankruptcy court by e-filing, by mail
       or in person, such that they are received no later than July 15, 2019 (the “Bar Date”), at the
       following address:

       Clerk of the United States Bankruptcy Court
       United States Custom House
       721 19th Street
       Denver, Colorado 80202

CLAIMS ARE NOT DEEMED FILED UNTIL ACTUALLY RECEIVED BY THE CLERK.

(b)    ANY CLAIMS FILED AFTER THE BAR DATE WILL BE DISALLOWED. Any
       individual or entity that is required to file a proof of claim by the Bar Date and that fails to
       do so will not be treated as a creditor for the purposes of voting or distribution, may not
       receive any further notices of mailings in this chapter 11 case and any claim of such

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      individual or entity will be forever barred.

(c)   Any creditor holding a claim arising prior to date of debtor’s chapter 11 bankruptcy filing,
      April 30, 2019, must file a proof of claim with the court if the claim is: (i) not scheduled, (ii)
      scheduled as disputed, contingent, or unliquidated, or (iii) if such creditor disagrees with the
      amount of the scheduled claim.

(d)   Following the Bar Date, a creditor will not be allowed to amend a claim deemed filed on its
      behalf pursuant to 11 U.S.C. § 1111(a) by virtue of the listing of such claim by debtors in
      their respective bankruptcy schedules.

(e)   CLAIMANTS WHO HAVE ALREADY FILED THEIR PROOFS OF CLAIM SHOULD
      NOT FILE A DUPLICATE CLAIM. Claimants who have filed a Proof of Claim MAY file
      an amended Proof of Claim by the Bar Date.

(f)   EACH CLAIMANT MUST (1) NAME ONLY ONE SPECIFIC DEBTOR, (2) STATE
      THAT DEBTOR’S INDIVIDUAL BANKRUPTCY CASE NUMBER AS SET FORTH
      ABOVE; AND (3) FILE THAT PROOF OF CLAIM IN THE SPECIFIC CASE TO WHICH
      IT APPLIES. DO NOT COMBINE CLAIMS AGAINST TWO OR MORE DEBTORS
      INTO ONE PROOF OF CLAIM FORM. In order to assist in the review and reconciliation
      of proofs of claim, claims should include copies of any invoices, statements or other
      documents which evidence or support the amount and basis of the claim.

ANY CLAIM NOT TIMELY FILED WITH THE CLERK WITHIN THE TIME SET
FORTH ABOVE WILL BE FOREVER BARRED FROM SHARING IN THE ESTATE OR
BEING TREATED AS A CLAIM FOR PURPOSES OF VOTING OR DISTRIBUTION.1

Dated: May 10, 2019
                                              Respectfully submitted,
                                              BUECHLER LAW OFFICE, L.L.C.

                                              /s/ Michael J. Guyerson
                                              ______________________________
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      1
       Subject to 11 U.S.C. § 726(a)(1) in the event of conversion.

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